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                          UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF CALIFORNIA
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8    UNITED STATES OF AMERICA,
                                                  CR. 2:99-433-05 WBS
9         Plaintiff and Respondent,

10        v.                                      ORDER

11   HOANG NGUYEN, also known as
     BAO HOANG LU,
12
          Defendant and Movant.
13                                   /

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15               On July 12, 2012, after the court had set a briefing

16   schedule on defendant’s original motion and adjusted that

17   schedule at the request of counsel, defendant Bao Hoang Lu filed,

18   without seeking leave of court, a First Amended Motion to Vacate,

19   Set Aside, or Correct his Sentence pursuant to 28 U.S.C. § 2255.

20   The United States shall file its opposition to defendant’s first

21   amended motion no later than September 12, 2012.        Defendant may

22   then file a reply no later than October 15, 2012.         Unless a

23   second amended motion is filed before then, the court will then

24   take the first amended motion under submission.

25               IT IS SO ORDERED.

26   DATED:    July 13, 2012

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